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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 13-80928-CIV-MARRA
                                      (Consolidated Action: Lead Case)


   RICHARD COTROMANO et al.,
        Plaintiffs,

   vs.

   UNITED TECHNOLOGIES CORPORATION and
   PALM BEACH AGGREGATES, LLC,
         Defendants.                                                      Case No. 13-80928-Civ-Marra
   __________________________________________/

   JOSEPH ADINOLFE etc., et al.,
        Plaintiffs,

   vs.

   UNITED TECHNOLOGIES CORPORATION,
        Defendant.                                                        Case No. 10-80840-Civ-Marra
   _______________________________________/

                      OPINION MEMORANDUM AND ORDER
           DENYING PLAINTIFFS’ MOTION TO CERTIFY LITIGATION CLASS
       AS AGAINST DEFENDANT UNITED TECHNOLOGIES CORPORATION [DE 265]
                                    and
       DENYING PLAINTIFFS AND DEFENDANT PALM BEACH AGGREGATES, LLC’S
                 JOINT MOTION TO CERTIFY SETTLEMENT CLASS
          AS AGAINST DEFENDANT PALM BEACH AGGREGATES, LLC [DE 253]

           THIS CAUSE is before the Court on the Plaintiffs’ Joint Motion for Class Certification

   as against Defendant United Technologies Corporation [DE 265].1 Defendant United

   Technologies Corporation (“UTC”) filed a Response in Opposition to the Motion [DE 320] and

   Plaintiffs filed a Reply [DE 330]. Each side has moved to exclude the others’ experts pursuant to

   1
     Also before the Court is the Plaintiffs and Defendant Palm Beach Aggregates, LLC [PBA]’s joint motion to certify
   a settlement class as to Defendant Palm Beach Aggregates [DE 253], Defendant United Technologies Response in
   Opposition to the Motion [DE 321] and Plaintiffs’ and PBA’s Replies [DE 327, 331]. The Court previously
   directed that the class certification issues presented by both motions would be determined simultaneously, following
   a single evidentiary proceeding [DE 349], and now proceeds to determine both motions.

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   Rule 702 of the Federal Rules of Evidence and Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

   579, 113 S. Ct. 2786, 125 L. Ed.2d 469 (1993) and those motions are also pending [DE 236-248,

   251, 277, 279]. The Court held a five-day evidentiary hearing on all relevant motions from

   January 8-12, 2018. The parties have since submitted written summations and proposed findings

   of fact and conclusions of law [DE 425, 426-1, 427-1, 428]. Having reviewed the Plaintiffs’

   Consolidated Class Action Complaint [DE 318] (“Compl.”), the parties’ class certification briefs,

   voluminous evidentiary submissions [DE 255-264; 284-285; 319; 363-367; 368-374, 394, 405,

   419-424] expert reports, and the relevant law, the Court rules as follows.

                                                      I. Preface

          Plaintiffs are five married couples and two individuals who own property in a semi-rural

   residential community in western Palm Beach County known as “the Acreage.” They filed this

   putative class action against United Technologies Corporation (“UTC”), Pratt & Whitney Group

   (“Pratt & Whitney”), the owner of a rocket and aerospace testing and manufacturing plant

   located between five to fifteen miles north of the Plaintiffs’ properties. Plaintiffs allege Pratt &

   Whitney released toxic contaminants into the air, water and soil at the Pratt & Whitney plant and

   in the communities surrounding the plant, and that some of the contaminants migrated to the

   Acreage via groundwater or soil transport. They claim their properties are either contaminated,

   at risk of future contamination, or in proximity to contaminated property as a result of Pratt &

   Whitney’s environmental abuses, and that they have suffered a loss of use and enjoyment of their

   property, as well as a diminution in property values, as a result.2



   2
     Ten of the putative class representatives in this case are also individual plaintiffs in separate personal injury
   lawsuits alleging that certain family members residing in their homes developed brain tumors or other cancers as a
   result of exposure to contaminants allegedly released to the Acreage by Pratt & Whitney. Pinares v. United
   Technology Corporation, Case No. 10-80883-CIV-MARRA (consolidated action). In their capacity as putative
   class representatives in the above-styled proceeding, Plaintiffs do not allege that any putative class members have
   suffered health problems or personal injury from the alleged contamination.

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          In earlier proceedings before the Honorable Judge Kenneth L. Ryskamp, to whom this

   action was originally assigned, Plaintiffs’ claims were dismissed due to insufficient evidence of

   class-wide actual contamination and causation. The Eleventh Circuit reversed and reinstated the

   claims, Adinolfe v. United Technologies Corp. d/b/a Pratt & Whitney, 768 F.3d 1161 (11th Cir.

   2014). Following remand and reassignment to the undersigned, the putative class representatives

   filed a joint consolidated class action complaint [DE 318] and moved for class certification [DE

   265]. For reasons set forth below, the Plaintiffs’ motion for class certification is denied.

                                                II. Fact Background3

            Since 1957, Pratt & Whitney has continuously operated rocket and aerospace testing and

   manufacturing facilities on a 30-square-mile property in rural western Palm Beach County. It

   has done business at this location as the Pratt & Whitney Government Engine Business Division,

   the Pratt & Whitney Aircraft Florida Research and Development Center, and Pratt & Whitney

   Rocketdyne.       To support these operations, UTC constructed a system of canals, ponds, above

   and below ground tanks, pipelines, cooling towers and test stands. The southern edge of Pratt &

   Whitney’s property is contiguous to a 25-square-mile parcel known as the J.W. Corbett Wildlife

   Management Area (“Corbett Wildlife Area”). The Corbett Wildlife Area, in turn, abuts the

   northernmost edge of the residential community known as “the Acreage.”

            According to Plaintiffs, Pratt & Whitney’s manufacturing activities caused the release of

   vast quantities of toxins, contaminants, carcinogens and other hazardous wastes -- collectively

   referred to as Chemical Contaminants of Concern (“CCOCs”) -- into the air, groundwater and


            3
               Except as otherwise noted (by reference to allegations, or disputed expert fact findings or interpretation
   of those findings), the facts recited in this history are undisputed and are drawn from the complaint, expert
   affidavits, hearing testimony and other evidence submitted by the parties in connection with the pending class
   certification and Daubert motions. The facts recited here are provided as explanatory background to the issues
   framed by the current motion for class certification and relevant Daubert determinations, and are not conclusive or
   binding in any other context.


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   soil at and near its Palm Beach County Campus. This allegedly resulted in migration of CCOCs

   to the Acreage by way of a shared permeable aquifer, and by way of ground transport of

   contaminated soil allegedly dumped at the Acreage for landfill.4

            Due to concerns about on-site contamination with radionuclides and other contaminants,

   the United States Environmental Agency (“EPA”) designated the Pratt & Whitney property as a

   potential Superfund site in the 1980s and placed it on the EPA National Priorities List.5

   Ultimately, UTC, through its consultant, Dames & Moore, negotiated a remediation plan with

   the Florida Department of Environmental Regulation, allowing it to conduct remediation at its

   Pratt & Whitney Campus with limited EPA oversight and without formal designation as an EPA

   “Superfund” site.         Plaintiffs contend these remediation efforts came too late, after the shared

   aquifer had already been heavily contaminated, and that Pratt & Whitney’s remediation work did

   not stop contaminated groundwater from escaping and traveling to the Acreage (Compl. ¶¶ 46,

   49).

            In June 2009, the Florida Department of Health (FDOH) began investigating the

   incidence of pediatric cancer cases in the Acreage at request of a concerned parent whose six-

   year-old son had recently been diagnosed with a brain tumor. On February 1, 2010, at the

   completion of its investigation, the FDOH reported pediatric brain tumors diagnosed in the


            4
               In the early 1990s, UTC began shipping tons of soil from its Pratt & Whitney campus to soil recycling
   companies. This process continued for roughly ten years and involved the removal of over 50,000 tons of soil. The
   bulk of the soil was shipped by rail to a treatment facility in Michigan, while the remainder was slated for shipment
   by truck to thermal treatment centers in West Palm Beach and Pompano Beach, Florida. Plaintiffs allege that many
   of the Florida soil transports were either not properly treated, or were diverted from the soil treatment recycling
   facilities and instead delivered directly to landfills. In this fashion, Plaintiffs allege there is a “possibility” that some
   soil removed from Pratt & Whitney’s campus ended up, untreated, as residential landfill at the Acreage.
            5
               The EPA determined that the Pratt & Whitney Camus met the criteria for Superfund designation in
   accordance with the provisions of the Comprehensive Environmental Response, Compensation. Liability Act of
   1980 (“CERCLA”), 42 U.S.C. §§ 9601- 9657, as amended by the Superfund Amendments and Reauthorization Act
   of 1986. The Superfund “national priorities list” is a national list of facilities throughout the United States known to
   have released hazardous substances. Using established criteria, the EPA sets priorities for taking remedial response
   actions at Superfund sites, including investigation and clean-up of hazardous materials.

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   Acreage to be significantly escalated for years 2005-2007, leading the Palm Beach County

   Health Department to designate a section of the Acreage as a “cancer cluster” [Compl. ¶75].

   Shortly after, the Center for Disease Control (CDC) confirmed the escalation and added 2008

   pediatric diagnoses to the cluster [Compl. ¶¶ 25-26].

          The FDOH investigation triggered a multi-agency inquiry into environmental

   contamination in the area. The Federal Housing Administration imposed a warning advising

   appraisers that the state-declared cancer cluster may be harming home values in the central Palm

   Beach County residential community known as the Acreage.            The Florida Department of

   Environmental Protection also stepped in, but, after several years of extensive on-site testing,

   concluded there was no reason for concern about environmental conditions in the Acreage: It

   announced, in its August 2010 public report, that “[t]he water qualify in the Acreage is generally

   good and residential property in The Acreage is safe for families to enjoy outside activities in

   their yards….”    It noted “no risk factors were found associated to pediatric brain cancer,”

   leading the FDOH to cease its investigation with no finding on causation of the cancer cluster.

   Plaintiffs contend this lapse is attributable to FDOH’s use of incomplete data, failure to assess

   local polluters, agency bias and improper influence of a county engineer [Compl. ¶ 36].

          It is undisputed that the soil and groundwater at the Pratt & Whitney Campus were

   contaminated when CCOCs seeped into the soil and groundwater over the course of Defendant’s

   operations at the site. It is also undisputed that some of these contaminants migrated to the

   adjacent Corbett Wildlife Area, as evidenced by an underground plume of I, 4-dioxane

   originating at the Pratt & Whitney site and extending 1000 feet into the Corbett Wildlife Area.

   At issue in this case is whether contaminants released by Pratt & Whitney also migrated to or




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   near the Acreage, by way of groundwater or soil transport, creating health risks for Acreage

   inhabitants and environmental stigma which has damaged their property values.

                                          Groundwater Transport

          Pratt & Whitney’s Palm Beach County Campus, the Corbett Wildlife Area, and the

   Acreage are underlain by and share a common underground aquifer. A groundwater “ridge”

   bisects the Pratt & Whitney campus and the Corbett Wildlife Area to the south. Groundwater

   from the eastern portion of the Pratt & Whitney site flows east and southeast, and groundwater

   from the western half of the site flows west and southwest. The experts’ groundwater models,

   including the one prepared by Plaintiffs’ expert, Daniel Stephens, show a narrow band in the

   center of the Pratt & Whitney property, described as a “preferred pathway,” where groundwater

   could potentially flow from Pratt & Whitney toward the proposed class area.

           The parties disagree as to whether groundwater velocity in this area is capable of

   carrying groundwater from Pratt & Whitney’s site to the northern edge of the proposed class area

   in the relevant time period. Plaintiffs’ hydrogeologists, Philip Bedient and Daniel Stephens,

   opined this is feasible, via the “preferential pathway,” and that contaminants from the aquifer

   underlying Pratt & Whitney could have, within a reasonable degree of probability, migrated to

   the Acreage via this pathway. The Defendant’s hydrogeologist expert, Thomas Missimer, came

   to the opposite conclusion, opining that any contaminants found in groundwater at the Pratt and

   &Whitney facility would have attenuated by natural processes to the point of being undetectable

   before reaching the proposed class area.

                                        Off-Site Contamination

          It is undisputed, as noted above, that an I, 4-dioxane underground plume migrated offsite

   from the Pratt & Whitney site, approximately 1,000 feet into the Corbett Wildlife Area. It is also



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   undisputed that high concentrations of I, 4-dioxane have been detected in groundwater at the

   Pratt & Whitney site. In the Acreage, however, the FDEP detected I, 4-dioxane at only four of

   over 100 locations tested in the northern part of the proposed class area, and these detections

   were classified as “I” results below the “practical quantification limit” for the lab, meaning the

   amounts were too small to measure accurately. The Defendant disputes whether these detections

   are attributable to Pratt & Whitney operations.

          Plaintiffs’ experts also detected, based on independent test well drilling in the Acreage,

   the presence of methylene chloride, chloroform, bromodichloromethane, 1-4-dioxane, dioxins

   and furans. Plaintiffs’ expert geologist, Brian Moore, attributes the presence of these chemicals

   in the Acreage to Pratt & Whitney operations. Moore explains that UTC’s operations are known

   to involve carbon tetrachloride, which undergoes anaerobic microbial degradation to become

   chloroform, which in turn undergoes anaerobic microbial degradation to become methylene

   chloride.   His opinion tethering these chemicals to Pratt & Whitney also derives from UTC’s

   self-report of significant levels of chloroform, methylene chloride and bromodichloromethane in

   its monitoring wells, as well as high concentrations of I, 4-dioxane in its groundwater. UTC

   contests the admissibility of Moore’s expert testimony connecting the detection of these

   materials to Pratt & Whitney activities.

          Brian Moore also testified to detections of dioxin and furans in the groundwater at seven

   locations in the proposed class area, again attributing the presence of these materials to Pratt &

   Whitney operations. Defendant challenges the reliability of Moore’s physical findings and

   migration opinions – questioning lab accreditation and lab contamination issues attending the

   testing and criticizing Moore’s failure to consider alternative sources for the Acreage detections.




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                                                    Soil Transport

            The defense hydrogeologist, Thomas Missimer, testified that surface or groundwater

   transport of radioactive materials to the proposed class area is not possible.                    Plaintiffs do not

   identify any competing expert testimony on this issue.

            Plaintiffs do focus on soil transport as the likely migration path of radioactive

   contaminants. Plaintiffs contend that untreated, contaminated soil removed from the Pratt &

   Whitney site was diverted from delivery to designated soil recycling plants in South Florida and

   instead trucked directly into the Acreage where it was used, untreated, as residential landfill;6 in

   this manner, Plaintiffs contend that radioactive materials originating with Pratt & Whitney were

   introduced into the Acreage environment, where residuals relating to Acreage drinking water

   systems later showed “shockingly high levels of radioactive isotopes” at some homes.

            Plaintiffs’ environmental radioactivity expert, civil engineer Marco Kaltofen, found

   elevated levels of several radioactive materials (comparable to those found at the UTC site) in

   several of the Acreage test home yards and in soils where the water systems backflush at those

   properties. Some of these homes were identified as potential recipients of fill products from Tru

   Trucking, one of the ground transport companies used by Pratt & Whitney to remove soil from

   its Palm Beach County Campus during the 1990s. Sporadic testing by Kaltofen in the proposed

   class area revealed detections of naturally-occurring radioactive materials such as Uranium and

   Thorium-230, and man-made materials such as Cesium-137 and Strontium-90.



            6
               Plaintiffs adduce a chain of circumstantial evidence suggesting this sequence. They point to records from
   the Magnum treatment facility, showing it was not receiving and treating the same amount of soil that UTC
   purported to have shipped there, and showing it did not treat all soil delivered to it. Combined with evidence of liens
   for soil deliveries by relevant trucking companies, and Tru-Trucking bookkeeper testimony that soil removed from
   Pratt & Whitney was not always delivered to Magnum, together with soil contamination test results within the
   Acreage, Plaintiffs adduce that contaminated soil from UTC found its way directly to the Acreage for use as
   residential landfill.


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            Kaltofen found detections of Thorium isotopes in some locations at above-background

   levels (without identifying the range of expected levels or reporting a mean for thorium

   detections above expected background concentrations), 7 in addition to detections of Radium-226

   and Lead-210 found at above background levels. He correlated these detections to materials

   used at the UTC site, and by comparing characteristics of offsite and onsite samples using a

   microscopic analysis procedure called “SEM.” 8

           Kaltofen tested for Strontium-90 in fifty soil samples, tabulated in his direct testimony

   affidavit [DE 363-1 pp. 10-11]. He explained that the sampling areas primarily encompassed

   case homes (homes included in the FDOH cancer cluster investigation), Pratt & Whitney site

   locations, in addition to six samples taken at Acreage homes identified as recipients of Tru Truck

   landfill deliveries. He found elevated Strontium-90 detections highest at the UTC campus, at

   Acreage homes closest to the UTC campus, and in Acreage homes that received Tru Trucking

   landfill, and noted that several of these detections were found in samples taken at different times

   and run by separate lab reports.



   7
      As to Thorium-232, UTC acknowledges this material was also used in Pratt & Whitney’s manufacturing
   operations, but disputes there is competent evidence linking Pratt & Whitney to the detections of this material found
   in the Acreage. It acknowledges this material was used in the form of thoriated nickel to manufacture a small
   quantity of engine parts (bound in a metal alloy resistant to corrosion) at its plant, but states that it disposed of
   thoriated nickel scrap and various remnants in or near its scrapyard, which was later remediated with the removal
   and shipment of toxic materials to a facility licensed to accept radioactive waste. Plaintiffs contend that thorium-
   inclusive alloys such as TD Nickel and TD Cobalt were used in its nuclear jet program, and question the efficacy of
   the alleged remediation efforts.
   8
     UTC challenges the reliability of these conclusions, noting other explanations for Kaltofen’s high findings, and
   also challenges Kaltofen’s expert opinion identifying Pratt & Whitney as the likely source of radionuclides detected
   at the Acreage. It contends there are several known alternative sources of man-made and naturally occurring
   radioactive materials detected in the proposed class area which were not considered by Kaltofen. For example, it
   notes man-made radionuclides are present around the world, at background levels, as a result of fallout from nuclear
   weapons testing and other large scale nuclear events. It also notes that natural radioactive materials are present
   throughout the environment, observing their presence can be enhanced through mining operations such as those
   conducted by co-defendant Palm Beach Aggregates. Palm Beach Aggregates is located directly adjacent to the
   western edge of the proposed class area and was also a major source “fill” at Pratt & Whitney and in the
   construction of homes in the proposed class area.


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           Kaltofen acknowledged that radioactive contamination could not be shown in a

   representative distribution across the proposed class area, and his Acreage samples were simply a

   presentation of a “particular mode of contamination spread.”                 Drawing from the results of his

   limited sampling areas, he ultimately correlated the presence of radioactive materials (other than

   Strontium-90 and Cesium-137) detected in the Acreage to materials found in UTC operations,

   by comparing characteristics of onsite and offsite samples and by comparing metals present in

   samples through microscopic analysis.

           Defendant acknowledges some documented uses of Cesium-137 and Strontium-90 at

   Pratt & Whitney, but contends there is only evidence of use of small quantities maintained in

   “closed sources,” with no evidence that these materials were used at the site in an “uncontrolled

   fashion” that would allow them to be released into the environment. Kaltofen agrees that closed

   sources could not be a source of radioactive contaminants, assuming closed sources were used;

   he also acknowledges that the presence of Cesium-137 and Strontium-90 from something other

   than sealed sources would require nuclear fission, through means such as the operation of a

   nuclear reactor or detonation of a nuclear bomb, and that these materials could only be present

   in the amounts he detected if such fission-producing work occurred at the Pratt & Whitney site.9

   With no specific evidence of either event ever occurring at the Pratt & Whitney site, Kaltofen

   offered no opinion as to source of Cesium-137 or Strontium-90 detections specifically.

           III. Procedural Posture

           A. The Consolidated Class Action Complaint

   9
     Plaintiffs allude to the possibility that Pratt & Whitney developed nuclear aircraft propulsion at its Palm Beach
   County Campus. They refer to a Pratt & Whitney memorandum recently made available to them by the U.S. Energy
   Department, which mandates that any documentation regarding use or performance of nuclear material at its site
   remain classified. If the import of this reference is to intimate fission-producing activity may have occurred at the
   Pratt & Whitney site, but is unknown due to security interests, the intimation is speculative and assigned no weight
   in the Court’s current analysis.


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            In its present incarnation, the Plaintiffs’ Joint Consolidated Class Action Complaint [DE

   318] alleges state-law causes of action against UTC for strict liability (Counts 1 – 3),10

   negligence (Counts 4-5),11 and nuisance (Count 6),12 as well as a federal claim for nuclear

   incident liability under the Price-Anderson Act (Count 7).13

            Plaintiffs allege that UTC’S mishandling and improper disposal of CCOCs directly and

   proximately caused (1) contamination of a shared aquifer relied on by well-water reliant Acreage

   residents for activities of daily living; (2) widespread public concerns that it is unsafe to reside

   in the Acreage due to contamination of the shared aquifer; (3) localized areas of contamination

   at select locations within the Acreage, and (4) diminution of property values across the Acreage




   10
      The common law strict liability claim is based on the ultra-hazardous activity of test-firing rocket engines and jet
   engines on test stands using chemicals which create ultra-hazardous CCOCs (Count 1). The statutory strict liability
   claim is asserted under Sec. 376.313 (3), Fla. Stat., which authorizes “any person” to recover “all damages resulting
   from a discharge or other condition of pollution.” On the statutory strict liability claims, Plaintiffs seek
   compensatory damages for injury due to “stigma” caused by the “groundwater plume” detected under the Corbett
   property (Count 2) and the “stigma” caused by contamination found by state investigatory agencies at Acreage case
   study homes included in the cancer cluster study, including benzopyrene and various heavy metals (lead, cadmium
   and barium) (Count 3).
   11
     The common law negligence claim is based on the failure to use reasonable care in the use, storage, discharge and
   disposal of CCOCs at the UTC campus, and violation of statutory duties of care imposed by Florida Air and Water
   Pollution Control Act and Water Quality Assurance Act. Plaintiffs allege injury due to “stigma” caused by the
   groundwater plume (Count 4) and stigma caused by contamination of Acreage homes included in the cancer cluster
   investigation (Count 5).
   12
     The common law nuisance claim is based on Pratt & Whitney’s alleged improper storage use and disposal of
   CCOCs at the Pratt & Whitney Palm Beach County campus, resulting in the release and migration of contaminants
   by air and groundwater into Acreage neighborhoods. These acts allegedly caused a disturbance in Plaintiffs’ free
   use, possession and enjoyment of their property (e.g. inability to fully use wells; fear and anxiety over exposure to
   and ingestion of well water drawn from contaminated aquifer; reliance on bottled water and water purification
   systems) (Count 6).
   13
      The Price-Anderson Act claim is based on Pratt & Whitney’s alleged failure to follow applicable regulations
   promulgated under the statute, including 10 C.F.R.¶ 20.1301, and its unpermitted uses, burial, burning and dumping
   of nuclear source and by-product materials (Count 7). Plaintiffs claim these acts caused radionuclides to be leached
   or emitted into ground and surface waters which eventually migrated to Acreage. On this claim, Plaintiffs seek
   compensatory damages for injury due to contamination of certain Acreage homes with radioactive materials released
   by UTC as a result of unauthorized use and disposal of licensed nuclear by-product or source materials, and
   damages flowing from the “stigma” of living in a community where radioactive materials, migrating from a nearby
   industrial neighborhood, have been detected at above-background levels.


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   as a result of environmental stigma and contamination at the UTC site and surrounding areas

   attributable to UTC [Compl. ¶50].

             B. The Proposed Class, Class Area, Class Representatives

             The Plaintiffs propose a 60-square-mile class area which they describe as a “well-

   defined, homogenous, semi-rural predominantly residential neighborhood in Palm Beach

   County, Florida” commonly known as the “Acreage.” This area contains 17,409 residential

   parcels, 14,509 of which are improved and 2,900 of which are vacant [DE 24-4 p. 10-11][DE

   258-6].

             The proposed class they seek to certify consists of:

             All persons who, on August 24, 2009 (or alternatively on February 1, 2010)
             owned residential property within the neighborhood in Palm Beach County,
             Florida, known as The Acreage, as defined on the map attached directly to this
             motion as Exhibit A (or alternatively on the map attached directly to this motion
             as Exhibit B).14

             Plaintiffs contend that either alternative definition of the proposed class meets the

   requirements of Rule 23(a) and Rule 23(b)(3). With this proposed definition, Plaintiffs

   presumably seek to show that persons owning property found within either of these metes and

   bounds map descriptions have suffered a common injury by virtue of “being in the vicinity of, or

   being under the future threat of [environmental] contamination” caused by Pratt & Whitney [DE

   265, p. 12].

             The putative class representatives in Cotromano are five married couples who own or

   owned residential properties in the Acreage, all of whom have a child that was declared to be a



   14
      Plaintiffs’ alternative proposed class, shown on the Ex. B map, is a slightly smaller area consisting of 15,663
   parcels in the Acreage. This area corresponds with the cancer cluster identified by the Florida Department of
   Health and the definition originally proposed by the Cotromano plaintiffs in their Second Amended Complaint [DE
   79 p. 5, DOH Report 10, p. 23-24)].


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   member of the pediatric brain tumor cluster designated by the Florida Department of Health.15 In

   Adinolfe, the proposed class representatives are two individual property owners, Joseph Adinolfe

   and Kay Samson, who claim a diminution in value of their property as a result of environmental

   stigma caused by UTC which clouds their property.

           Pratt & Whitney argues that class certification is inappropriate because the putative class

   representatives’ claims are not typical of all injuries of the proposed absent class members (who

   are not claiming personal injury). They also object that the proposed class area is overbroad and

   insufficiently defined, without reference to a common injury from a common cause, and is

   therefore not “ascertainable.”            Defendant’s primary objection, however, goes to the

   predominance and superiority requirements of Rule 23(b)(3). It asserts that individual issues

   touching on the measure of damages, the causation of each class member’s damage, and defenses

   to be raised against such claims (e.g. statute of limitations) predominate over any common issues

   that exist. It also contends that Plaintiffs’ mass appraisal technique for assessing property

   damage is not a valid formulaic or mathematical method that would be appropriate for a class

   action under the facts of this case. Finally, Defendant asserts that a class action is not a superior

   vehicle for adjudication of Plaintiffs’ claims because absent class members have a strong interest

   in controlling their own claims, which are significant.

           As noted, the Court held a lengthy evidentiary hearing on the Plaintiffs’ Motion for Class

   Certification from January 8, 2018 through January 12, 2018. In the wake of that hearing, the

   Court directed both sides to submit written summations, in addition to proposed findings of fact

   and conclusions of law. The purpose of this post-hearing supplementary briefing was to provide

   15
      The named plaintiffs in this group include: Richard and Bethany Cotromano (76 th Road); Frank and Paulette
   DeCarlo (80th Lane North); Joyce and Bill Featherson (80th Lane North); Gregory and Jennifer Dunsford (85 th St.
   North); Robert and Tracy Newfield (Banyan Blvd). The Dunsfords and Cotromanos sold their homes at a short sale
   after the FDOH included their homes in the pediatric brain tumor cluster declared in February 2010; the Feathersons
   lost their property in a foreclosure action after losing their child, Michael Beratta, to cancer.

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   an opportunity for the parties to streamline their arguments, and to designate specific exhibits

   and specific portions of the relevant depositions or live testimony they wish to be considered in

   support of or in opposition to the class certification motion. The parties have since submitted

   supplemental briefing, which to a limited degree, furthers this objective, and Plaintiffs’ motion

   for class certification is now properly before the Court for disposition.

           When an expert’s report or testimony is “critical” to class certification, the court is bound

   to make a conclusive ruling on any Daubert challenge to that expert’s qualifications or

   submissions before it may rule on a motion for class certification. Sher v. Raytheon Co., 419

   Fed. Appx. 887 (11th Cir.2011) citing American Honda Motor Co v. Allen, 600 F.3d 813 (7th Cir.

   2010). This obligation applies whether the Court grants or denies certification, requiring a

   Daubert ruling on any expert opinion which touches upon or issues critical to the Court’s class

   certification decision. Messner v. Northshore University HealthSystem, 669 F.3d 802, 812-13

   (7th Cir. 2012).

             In this case, the Court focuses its analysis on Plaintiffs’ proffered expert witness on

   class-wide damages, Dr. John Kilpatrick. Dr. Kilpatrick holds a Ph.D in Real Estate Finance and

   is a licensed certified real estate appraiser in all fifty states. Plaintiffs tender Kilpatrick in effort

   to demonstrate that damages in this putative class action, encompassing approximately 18,000

   property owners, are susceptible to calculation on a class-wide, uniform basis throughout the

   proposed class area by application of “mass appraisal” methodology.               Because Kilpatrick’s

   testimony is critical to the elements of commonality and predominance under Rule 23(b)(3), the

   Court must examine his opinion testimony to determine whether the underlying methodology

   shows some hallmarks of reliability for purpose of ruling on the threshold Daubert challenge to




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   it. See generally In re Polypropylene Carpet Antitrust Litigation, 996 F. Supp. 18, 26 (N.D. Ga.

   1997).

            Having done so, relying in part on the critique of Kilpatrick’s methodology proffered by

   defense rebuttal expert, John Hauser, Sc.D., the Court finds Dr. Kilpatrick’s opinions on class-

   wide diminution in value calculations does not satisfy Daubert and is appropriately excluded

   under application of Rule 702.            Without Kilpatrick’s testimony, 16 Plaintiffs cannot satisfy the

   predominance and superiority requirements of Rule 23(b)(3), as discussed in more detail below,

   and cannot carry their burden of proof under Rule 23, compelling defeat of their motion for class

   certification.

            IV. ANALYSIS - RULE 23 CLASS CERTIFICATION ISSUES

                A. Rule 23(a) Standard

            Class actions are an exception to the rule that litigation is ordinarily conducted on behalf

   of individually named parties. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011). To

   obtain class certification, parties must satisfy Rule 23(a)’s four threshold requirements, as well as

   the requirements of Rule 23 (b) (1), (2) or (3). Maldonado v. Ochsner Clinic Foundation, 493

   F.3d 521, 523 (5th Cir. 2007).

        Rule 23(a) sets forth the following prerequisites for class certification:

        (1) the class is so numerous that joinder of all members is impracticable;

        (2) there are questions of law or fact common to the class;

        (3) the claims or defenses of the representative parties are typical of the claims or defenses of

        the proposed class members and

        (4) the representative parties will fairly and adequately protect the interests of the class.


   16
     Because elimination of Kilpatrick defeats the class certification motion, it is unnecessary for Court to address the
   numerous Daubert motions directed to the liability and causation experts on both sides at this juncture.

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   Fed. R. Civ. P. 23 (a). See Valley Drug Co. v. Geneva Pharmaceuticals, Inc., 350 F.3d 1181,

   1188 n. 15 (11th Cir. 2003); Brown v. Electrolux Home Products, Inc., 817 F.3d 1225, 1233 (11th

   Cir. 2016).

          A district court is obligated to undertake a “rigorous analysis” to ensure that all

   requirements of Rule 23(a) are met, Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 131 S. Ct.

   2451, 2551, 180 L Ed.2d 374 (2011), and to resolve all conflicts in the evidence necessary to

   make the requisite findings on the elements set forth in Rule 23. Comcast Corp. v. Behrend, 569

   U.S. 27, 133 S. Ct. 1426, 1432, 185 L.Ed. 2d 515 (2013).

          In addition to the Rule 23(a) requirements, parties seeking class certification must show

   the proposed class is “adequately defined and clearly ascertainable” in order to demonstrate

   standing, Prado-Steiman v. Bush, 221 F.3d 1266, 1279 (11th Cir. 2000); Carriuolo v. General

   Motors Co., 823 F.3d 977, 984 (quoting Little v. T-Mobile USA, Inc., 691 F.3d 1302, 1304 (11th

   Cir. 2012), and they must satisfy one or more prongs of Rule 23(b).

          Here, Plaintiffs invoke Rule 23(b)(3), which allows a class to be certified if “the court

   finds that the questions of law or fact common to class members predominate over any questions

   affecting only individual members, and that a class action is superior to other available methods

   for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). In evaluating

   Rule 23(b)(3)’s predominance and superiority requirements, the Rule prescribes “[t]he matters

   pertinent to these findings” to include:

          (A) the class members’ interest in individually controlling the prosecution or defense of
             separate actions;

          (B) the extent and nature of any litigation concerning the controversy already begun by
             or against class members;




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            (C) the desirability or undesirability of concentrating the litigation of the claims in the
               particular forum; and

            (D) the likely difficulties in managing a class action.

   Fed. R. Civ. P. 23(b)(3).

            In assessing a motion for class certification, the court is mindful that “it is the party

   seeking certification that bears the burden of establishing that the requirements of Rule 23 have

   been met,” Gene & Gene LLC v. BioPay LLC, 541 F.3d 318, 325 (5th Cir. 2008), and it within

   the district court’s discretion to certify a class, a decision that it reviewed only for an abuse of

   that discretion. Anderson v. U.S. Dept. of Housing & Urban Development, 554 F.3d 525 (5th Cir.

   2008).

      Further, in conducting its “rigorous analysis” of the Rule 23 pre-requisites, the court may

   look past the pleadings to see if the requirements are met – indeed, going beyond the pleadings is

   necessary, because the court must understand the claims, defenses, relevant facts and applicable

   substantive law     in order to make a meaningful determination of the certification issues.

   O’Sullivan v. Countrywide Home Loans, 319 F.3d 732 (5th Cir. 2003).

      1. Ascertainability of the Proposed Class

            A party seeking class certification “must establish that the proposed class is adequately

   defined and clearly ascertainable.” Little v. T-Mobile USA, Inc. 691 F.3d 1302, 1304 (11th Cir.

   2012). This means the class must be defined “by reference to objective criteria,” Bussey v.

   Macon Cty. Greyhound Park, Inc., 562 Fed. Appx. 782, 787 (11th Cir. 2014) (quoting Fogarazzo

   v. Lehman Bros., Inc., 263 F.R.D. 90, 97 (S.D.N.Y. 2000), and, as defined, must include a

   common claim for injury attributable to a common cause (the defendant’s conduct). Wal-Mart

   Stores, Inc. v. Dukes, 564 U.S. 338, 349-50. See also Federal Judicial Center Manual for

   Complex Litigation § 21.222 (4th ed. 2004) (class definition must be “precise, objective, and

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   presently ascertainable….. An identifiable class exists if its members can be ascertained by

   reference to objective criteria. The order defining the class should avoid subjective standards …

   or terms that depend on resolution of the merits …”). The district court has discretion to redefine

   the class to cure a deficiency in the proposed class, see Benefield v. Int’l Paper Co., 270 F.R.D.

   640, 645(M.D. Ala. 2010), but Plaintiffs “must propose an administratively feasible method by

   which class members can be identified.” Karhu v. Vital Pharms., Inc. 621 Fed. Appx. 945, 947

   (11th Cir. 2015) (unpub).

          The proposed class definition here is stated as:

            All persons who, on August 24, 2009 (or alternatively on February 1, 2010)
            owned residential property within the neighborhood in Palm Beach County,
            Florida, known as The Acreage, as defined on the map attached directly to this
            motion as Exhibit A (or alternatively on the map attached directly to this
            motion as Exhibit B).


          The first proposal matches the exact boundaries used by Palm Beach County and FDOH

   in conducting the cancer cluster investigation (advanced by the Cotromano plaintiffs), while the

   alternative proposal expands those boundaries to include “two disjointed sections of the official

   Acreage” and to “add[] some neighborhood blocks” found adjacent to “the official Acreage”

   (advanced by the Adinolfe plaintiffs). That is, Plaintiffs seek to certify a class consisting of all

   persons who owned property on certain dates (tethered to the timing of Palm Beach County’s

   cancer cluster investigation and announcements) within certain metes and bounds related to

   FDOH-defined cancer cluster boundaries. Properties within these metes and bounds (for the

   smaller proposed class), or in the general vicinity of these bounds (for the larger proposed




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   class),17 are, according to Plaintiffs, “area[s] affected by the stigma of environmental

   contamination” [DE 428 p. 11].

           The Court finds both definitions to be over-inclusive, and even assuming the

   admissibility of expert liability evidence on groundwater and soil migration, and considering

   Plaintiffs’ evidence of sporadic contamination spots in Acreage locations, the Court is

   disinclined to refine the definition because it finds no means of doing so, using objective criteria,

   on this record.

           Plaintiffs’ groundwater expert, Daniel Stephens, expressed doubt that the whole area

   delineated by Plaintiffs as “the Acreage” has contamination. He testified it was theoretically

   possible that trace amounts of chemicals could travel via the aquifer, along the “preferred

   pathway” to discrete locations miles south of Pratt & Whitney’s facility, but did not define any

   areas of actual, or threatened contamination, that correspond to the proposed class area. For

   example, he identified only four “estimated” detections of I, 4-dioxane in the proposed class

   area, and acknowledged that the “vast majority” of results from the testing in the 60-square mile

   were “non-detects.” Plaintiffs’ other groundwater transport expert, Philip Bedient, did not define

   the contours of the proposed area by reference to actual contamination, or proximity to it, but

   instead relied on a handful of sporadic detections of chemicals across the 60-square mile area,

   conceding these sporadic detections do not indicate the presence of contamination at other

   properties within the Acreage.

           Plaintiffs’ real estate appraisal expert, John Kilpatrick, opined about the metes and

   bounds of what he believed to be the “Acreage community,” derived from his survey research,

   based on informal interviews with local realtors and inhabitants of similar semi-rural

   17
      Plaintiffs rely on their expert hydrogeologists, Daniel Stephens and Philip Bedient, and property appraiser, John
   Kilpatrick, to support their alternative definitions of the two proposed class areas.


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   communities such as Jupiter Farms and Palm Beach Country Estates.         He admitted, however,

   that his metes and bounds description of the proposed class area, including the entirety of the

   area colloquially known as “the Acreage,” had nothing to do with areas actually affected by

   contamination, and that he took no steps to assess what market participants perceived to be the

   extent of contamination at locations within the Acreage.      He was also unable to identify any

   survey methodology by which an appraiser could define a geographic area affected by the

   “stigma” of environmental contamination.

          None of Plaintiffs’ experts, then, connect the metes and bounds of the proposed class area

   to danger posed by soil or water contamination attributable to conduct of the Defendant, and in

   this sense, offer nothing meaningful on the threshold ascertainability issue. Plaintiffs simply

   argue, without evidentiary support, that each named putative class representative is similarly

   affected by CCOCs that migrated off-site from the Pratt & Whitney Campus because they own

   property which shares a common aquifer with that underlying the Pratt & Whitney site, and is

   situate in some amorphous zone of “vicinity” to contamination detections (of different types and

   levels) at different sporadic locations throughout the Acreage.

          However, a definition based on general physical proximity to the Pratt & Whitney site

   (within a five to fifteen mile southern trajectory) or indeterminate distances from properties in

   the Acreage revealing detections of any variety of CCOCs alleged to have migrated there from

   the Pratt & Whitney site – untethered to evidence of exposure or dose reconstruction data for

   each individual in the proposed class and medical evidence establishing a health risk posed by

   that exposure – does not supply the requisite “objective criteria” needed to define a class by

   reference to a common injury attributable to a common cause.




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          Plaintiffs contend that the general public and relevant real estate market harbor a

   perception that there is an elevated risk to human health posed by residing near industrial

   operations known to have released harmful contaminants into the groundwater (shared aquifer)

   and soil -- a fear allegedly created by Pratt & Whitney through its mishandling of contaminants

   at its site -- and that the class of property owners negatively affected by this “perception” may

   be captured here by drawing a line around nearby residential neighborhoods and communities

   loosely defined as “the Acreage.” [DE 293, pp. 4-5].     The problem with this premise is that a

   public fear or perception of risk of environmental contamination is not an objective criteria by

   which to define an ascertainable class holding actionable tort claims against the alleged polluter

   –this follows because the claims are not actionable unless the polluter’s alleged created

   dangerous dose exposures, measured in terms of risk to human life, to persons residing within

   specified geographical zones.

           Under the view advanced by Plaintiffs, “environmental stigma” could attach due to an

   entirely unfounded and unreasonable perception of fear of environmental harm posed by

   negligent, accidental or even intentional contaminant spills or releases at nearby properties.

   However, engaging in conduct which causes a subjective, unreasonable fear of environmental

   danger is not actionable (e.g. a spill occurs, is completely remediated and poses no exposure risk

   under any heightened scientific standard, but the public still harbor concerns and the

   environmental stigma continues to cloud neighboring property as a result). Exposing people in

   neighboring communities to dangerous doses of contaminants through mishandling of CCOCs is

   an actionable harm.




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            In this case, there is no class-wide evidence of the dangerous exposure levels.

            On the issue of risk, Plaintiffs’ proffered Dr. Arie Perry, M.D., a neuropathologist with

   expertise in pediatric cancer, to give an opinion on the medically recognized causes for

   “increased incidence” of pediatric brain tumors of the type found in the Acreage. Dr. Perry

   testified, based on extensive review of epidemiological data, that radiation is recognized as the

   most well-established external carcinogen relative to pediatric brain tumors, and he confirmed

   the well-known association between brain tumors and high-dose ionizing radiation.

            Dr. Perry stated he was not asked to give opinion on causation of any individual case.

   However, he explained he was not given any information regarding specific doses of radiation

   for any individual in the proposed class area. Therefore, he had no basis to compare the exposure

   Plaintiffs’ allegedly suffered to the relevant medical literature [DE 363-7, ¶5c]. Also, Dr. Perry

   did not opine that exposure to radiation in water or soil (in any level) could result in a dose to the

   brain.

            Without class-wide dose reconstruction data, there is no objective manner by which

   Defendant’s alleged misconduct could be logically tethered to all property owners in the 60-

   square-mile expanse of the proposed class area covering 18,000 homes.                            If Plaintiffs could

   identify discrete locations in or near Acreage properties which were contaminated by CCOCs at

   dose levels posing a risk to human health for persons residing within prescribed geographic

   distances of those contaminants, they might supply this missing evidentiary link, and possibly

   propose an ascertainable class (based on an objectively-measured geographic zone of danger). 18


   18
      Plaintiffs correctly assert, under Adinolfe, supra, that they are not required to prove class-wide contamination of
   the properties in order to state actionable claims against Pratt & Whitney. However, they are obligated to proffer a
   class definition, based on objectively reasonable criteria, that identifies a class of persons suffering a common injury
   from a common cause attributable to Defendant. Vaguely owning property “in the vicinity of” contamination
   released by Defendant is not an objectively reasonable yardstick, as it offers no objectively reasonable criteria by
   which to identify property likely damaged by environmental “stigma” created by Defendant (as opposed to stigma
   attaching due to public perceptions not logically related to harmful conduct attributable to Defendant) .

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   However, as this cannot be accomplished without an entire restructuring of the evidence, the

   Court finds it impossible to re-draw the geographical boundaries of the proposed class on this

   record and shall deny the motion to certify the class due to failure to demonstrate

   ascertainability.

           Put another way, while a definable class may, as a general proposition, be established by

   geographic boundaries,19it is not possible to do so here because the geographic boundaries of

   the proposed class are not tied to exposure contours demonstrated to be dangerous to human life.

   Compare Yslava v. Hughes Aircraft Co., 845 F. Supp. 705, 712 (D. Ariz. 1993) (plaintiffs

   seeking damages for contamination of groundwater rationally defined proposed class with

   sufficient precision, where they delineated twenty-four separate subgroups representing precise

   geographic areas where plaintiffs lived, worked or went to school, and alleged that persons

   within specified areas were exposed to contaminated water) with Daigle v. Shell Oil Co., 133

   F.R.D. 600, 602-03 (D. Col. 1990) (rejecting class against oil company defined by geographic

   boundaries where plaintiffs “failed to identify any logical reason relating to the defendant’s

   activities” at toxic waste disposal pond).

           Assuming, arguendo, that Plaintiffs’ proposed class definition is adequate, or could

   somehow be redefined to satisfy ascertainabilty, the Court shall proceed to examine the adequacy

   of Plaintiffs’ showing on Rule 23(b)(3)’s predominance element.




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     In re Methyl Tertiary Butyl Ether (“MTBE”) Prods. Liab. Lit, 2007 WL 541954 at *1 (S.D.N.Y. 2007) (class
   defined as those living in vicinity of those owners whose property was actually contaminated); Boggs v. Divested
   Atomic Corp., 141 F.R.D. 58 (S.D. Ohio 1991) (class defined as persons living within six miles of radioactive
   materials plant, where class representatives alleged personal well-being was affected by exposure to radioactive
   materials and that property interests were damaged by contamination); Cook v. Rockwell Int’l Corp., 151 F.R.D.
   378, 382 (D. Col. 1993) (certifying class defined by geographic boundaries based on dose or exposure contours of
   radioactive and non-radioactive materials)

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                 B. Rule 23(b)(3) Inquiry: Predominance

          The predominance inquiry is more demanding that the commonality requirement of Rule

   23(a) and requires courts to consider how a trial on the merits would be conducted if a class were

   certified. This, in turn, entails identifying the substantive issues that will control the outcome,

   assessing which issues will predominate, and then determining whether the issues are common to

   the class, a process that ultimately prevents the class from degenerating into a series of individual

   trials. Madison v. Chalmette Refining, LLC, 637 F.3d 551 (5th Cir. 2011).

          Whether common issues predominate and whether the class action is a superior method

   to resolve the controversy requires an understanding of the relevant claims, defenses, facts and

   substantial law presented in the case. This requirement, though reminiscent of the commonality

   requirement of Rule 23(a), is “far more demanding” because it “tests whether proposed class is

   sufficiently cohesive to warrant adjudication by representation.” Unger v. Amedisys, Inc., 401

   F.3d 316, 320 (5th Cir. 2005). Under this standard, the issues in the class action that are subject

   to generalized proof, and thus applicable to the class as a whole, must predominate over those

   issues that are subject only individualized proof. Common issues can predominate only if they

   have a direct impact on every class member’s effort to establish liability that is more substantial

   than the impact of individual issues in resolving the claims of each class member.

          Plaintiffs rely primarily on the expert report and opinion of Dr. John Kilpatrick, Ph.D.,

   MAI, FRICS, to establish predominance regarding property damages. Dr. Kilpatrick is an expert

   in real estate appraisal, and his expert report describes the method by which he proposes to

   calculate class-wide stigma damages for the estimated 18,000 properties located in the proposed

   class area.     He recommends a mass appraisal technique because this method would achieve




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   economies of scale in calculating property values before and after news of environmental

   contamination allegedly generated from Pratt & Whitney became public.20

           In his direct testimony affidavit, Kilpatrick opines: “My opinion remains that the

   Acreage neighborhood, was and remained diminished because the brain cancer cluster increased

   awareness of the historical contamination at the UTC campus and its connectivity to the Acreage

   potable water supply, a surficial aquifer, such that the area suffers a stigma that has reduced

   property value.” [DE 363-15].

           The Defendant has moved to exclude the testimony of Dr. Kilpatrick under Daubert, and

   has proffered the testimony of John Hauser, Sc.D, in rebuttal. Plaintiffs have likewise moved to

   exclude testimony of Hauser. These Daubert challenges are assessed in the discussion which

   follows.

           1. Standard of Review

           Federal Rule of Evidence 702 provides that courts may admit expert testimony if it is

   both relevant and reliable:

              If scientific, technical or other specialized knowledge will assist the trier of
              fact to understand the evidence or to determine a fact in issue, a witness
              qualified as an expert by knowledge, skill, experience, training or education,
              may testify thereto in the form of an opinion or otherwise if (1) the testimony
              is based upon sufficient facts or data, (2) the testimony is the product of
              reliable principles and methods and (3) the witness has applied the principles
              and methods reliably to the facts of the case.

   See also Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592 n. 10, 113 S. Ct. 2786, 125

   L.Ed.2d 469 (1993) (proponent of expert testimony must prove admissibility by a preponderance

   20
      Dr. Kilpatrick used six different methodologies to provide what he calls a “mass appraisal” of property value
   diminution in the proposed class area. He purports to have drawn his opinions from hedonic regression modeling,
   survey research, sales trend or transactional evidence, meta-analysis, literature review and case studies. He uses
   each of these six methodologies to conclude that the value of the 18,000 parcels in the proposed class area has
   uniformly diminished between 25% and 40% as a result of “stigma” caused by the properties’ proximity to
   environmental contamination caused by Pratt & Whitney.


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   of the evidence). The Third Circuit has described Rule 702 as the embodiment of “a trilogy of

   restrictions” that expert testimony must meet for admissibility: qualification, reliability and fit.

   Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003).

           In considering reliability, a court may consider an expert’s failure to account for obvious

   alternative explanations.” Munoz v Orr, 200 F.3d 291 (5th Cir. 2000); Blomkest Fertilizer, Inc. v

   Potash Corp. of Saskatchewan, 203 F.3d 1028 (8th Cir. 2000). The issue on “fit,” in turn, goes to

   “whether expert testimony proffered … is sufficiently tied to the facts of the case [so] that it will

   aid the jury in resolving a factual dispute.” Daubert, 509 U.S at 592 (quoting United States v

   Downing, 753 F.2d 1224, 1242 (3d Cir. 1985). Fit requires a “connection between the scientific

   research or test result to be presented and particular disputed factual issues in the case.” In re

   Paioli R.R. Yard PCB Litigation, 35 F.3d 717, 743 (3d Cir. 1994). The standard for fit is “not

   that high,” although it is “higher than bare relevance.” Id. at 745.

          To determine whether an expert’s proposed testimony is reliable, a trial judge may

   consider (1) whether it can be tested or whether it is purely subjective; (2) whether it has been

   subject to peer review and publication; (3) the known or potential rate of error; (4) the existence

   and maintenance of controls, and (5) whether the method it has been generally accepted in the

   scientific community. See Kumho Tire Co., Ltd. v. Carmichael, 526 U.S 137, 149-50, 119 S. Ct.

   1167, 143 L.Ed.2d 238 (1999). Under these factors, experts are not allowed to engage in

   haphazard, intuitive inquiry, and they must explain the research and methodology they employed

   in sufficient detail in order to allow the other party’s expert to test that hypothesis. Oddi v. Ford

   Motor Co., 234 F.3d 136 (3d Cir. 2000).

          With these precepts in mind, the analysis turns to the admissibility of testimony from

   John Kilpatrick, Ph.D., Plaintiffs’ damage expert in the calculation of class-wide damages.



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          2. Dr. John Kilpatrick

          Dr. Kilpatrick attempted to calculate the effect that “increased awareness of the historical

   contamination at the UTC campus” has had on the present market value of the putative class

   members’ homes.      He opined that it is feasible to perform a class-wide “mass appraisal”

   approach to determine the diminished value of the properties due to this environmental stigma.

   As defined by Kilpatrick, a mass appraisal model is a method of simultaneously and

   systematically valuing a large number of properties. He states that the majority of properties in

   the Acreage community are either single family detached residences, or vacant residential land,

   and contends that “[t]his extraordinary degree of homogeneity is further evidence of the

   applicability of a mass appraisal model” in this case [DE 363-15].

          Kilpatrick’s damage calculation is based on a simple formula: (1) unimpaired value of the

   property, minus (2) impaired value of the property, equals diminution in value.

          Kilpatrick derives his unimpaired value from sales trend data which existed as of

   February 10, 2010, a date which coincides with the Palm Beach County Health Department’s

   announcement of a cancer cluster in designated neighborhoods within the loose association of

   communities known as “The Acreage.”

          Kilpatrick’s method for determining impaired value is more involved, deriving from six

   methodologies: sales trend data analysis; contingent valuation analysis; academic literature

   review; case study review; informal survey research of market participants (local residents, real

   estate brokers and lending institutions) and a meta-analysis.

          Beginning with the sales trend analysis, Kilpatrick explains that he compared sales trends

   in the Acreage with those in “similar, unaffected control” areas supposedly similar in buyer-

   appeal (Palm Beach Country Estates, Jupiter Farms) to see if home property values moved in the



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   same direction in the same degrees, beginning with sales data from the end of 2008 and

   continuing up through 2016.

          As to valuation dips occurring before the cluster was announced in February 2010,

   Kilpatrick explains away this occurrence as due to “information leakage,” i.e. the market’s

   reaction to word-of-mouth health care concerns circulating throughout the Acreage before the

   government announced the cluster. And, while his original report referenced a precipitous falling

   off in values as a reflection of public concern attending the “cancer cluster” designation; in his

   direct testimony affidavit and hearing testimony presented at the class certification hearing, he

   shifted away from this verbiage, now stating that the drop reflected the market’s reaction to

   environmental stigma associated with Pratt & Whitney’s nearby industrial operations.

   Attempting to explain this shift, Kilpatrick contends that his earlier reference to a “cancer

   cluster” was simply mnemonic or “shorthand” for “fear of contamination” – what he now claims

   drove the drop in real estate values after February 2010.

          Kilpatrick conducted a single web-based (online) contingent valuation survey,

   administered through an independent firm which purchased email addresses for residents of

   Palm Beach County living outside the three zip codes covered the area known as the Acreage.

   He invited recipients to respond through an email containing a link to the web-based survey.

   After receiving 600 responses, the survey was closed and the data delivered to another firm

   retained to collect and process the data (Wilkins Research Services LLC) in Chattanooga,

   Tennessee.

           In a contingent valuation survey, market participants are asked what they would be

   willing to pay for something contingent on a certain factor. Kilpatrick describes it as “a way to

   determine the value of a condition by asking people questions about that condition” [DE 363-15



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   p. 7]. In this case, Kilpatrick asked survey participants how much they would be willing to pay

   for a house that was in a neighborhood declared a           “cancer cluster” zone by the Florida

   Department of Health due to high rates of pediatric brain cancer in the area, a phenomenon that

   “some local residents” suspected was due to contamination from the nearby Pratt & Whitney

   facility.

               He provided survey participants with a “Fact Card” stating that Pratt Whitney has been

   the focal point of “cleanup activities” since early 1980s, including “clean up chemicals,

   hazardous wastes, including cancer causing agents, oil, sodium cyanide, asbestos and mercury.”

   [DE 373-1, p. 10]. The Card recites that “spills and leaks at the site caused chemicals and wastes

   to seep into the soil and groundwater at the Pratt & Whitney property, and that the chemicals

   eventually migrated off-site, to the Corbett Wildlife Refuge and The Acreage neighborhood.

   The Card states that Florida Department of Environmental Protection initially suspected the

   presence of 24 contaminants in the area and did “some limited testing” in early 2010, but

   ultimately reported that they did not find carcinogen levels that would cause pediatric brain

   cancer. It added that the Center for Disease Control explained, in a letter to Acreage residents,

   that it is not easy to make an association between cancer and environmental exposures due to

   factors of origin and long induction periods for most cancers.

           The respondents overwhelmingly reported a very low “willingness to pay” as tabulated in

   Dr. Kilpatrick’s schedule.      For example, of the respondents asked if they would purchase a

   residence in the Acreage for 15 percent of the value of their current residence, only 10 percent of

   respondents answered “yes,” meaning 90% would presumably refuse an opportunity to buy a

   residence similar to their own in the Acreage at an 85 percent discount.




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           After weighing the results from the contingent value survey, informal interviews, sales

   trend analysis and other methodologies employed, Dr. Kilpatrick ultimately identified an

   “estimate[d]” diminution in value in the range of 25% to 40%” for all Acreage homes, a

   calculation he finds “within a reasonable degree of appraisal certainty “and correlates to the

   market’s perception and fears of environmental contamination posed by living in proximity to

   industrial operations at the nearby Pratt & Whitney site.   In his direct testimony affidavit, he

   expressed an intent to later produce these values on a “property by property basis” within the

   class area as the case moves forward [DE 363-15 pp. 2-3], and at the class certification hearing,

   he similarly testified he plans to perform additional survey research to validate his diminished

   value calculations, looking at specific pricing and transactional data for homes in the proposed

   class area. He further explained that he has not yet run this model because he is waiting for the

   Court’s determination of the class boundaries and ownership cut-off date in order to focus his

   efforts on the actual absent class members.

           Defendant challenges the reliability of all of Kilpatrick’s methodologies.     To rebut

   Kilpatrick’s proffered damage calculations, Defendant tendered the testimony of John Hauser,

   Sc.D., a Professor of Marketing at the Massachusetts Institute of Technology of (“MIT”) Sloan

   School of Management [DE 373-1], proficient in the evaluation of consumer decision–making

   processes across a wide range of industries, products and services. Hauser is a pioneer and

   recognized expert in the evolution of “conjoint analysis” (“CA”), a survey tool which asks

   consumers multiple choice questions in context, a presentation designed to minimize respondent

   bias.   He explains that “contingent valuation” (“CV”) surveys, such as that used by Dr.

   Kilpatrick in this case, instead ask a consumer a single choice question based on a “Fact Card,”




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   and that Kilpatrick’s CV methodology is in essence a “much-simplified and outdated version of

   choice-based CA [conjoint analysis] methodology” [DE 373-1].

          Dr. Hauser’s direct testimony affidavit more specifically challenges the reliability of

   Kilpatrick’s contingent value survey on grounds that: (1) the fact card is inaccurate (recites

   matters not fitting facts of the case); (2) the fact card is misleading, presenting respondents with

   only negative information about the community, without mentioning any of the positive

   attributes that draw buyers to semi-rural communities of this kind; (3) Kilpatrick sampled the

   wrong population – i.e. he drew respondents from a wealthier, more educated and older

   population than the proposed class of Acreage residents who likely live in locations which differ

   from the Acreage in fundamental ways unrelated to the present allegations --- and the sample is

   therefore not representative of potential home buyers in the proposed class area; (4) Kilpatrick

   used the incorrect formula to estimate average “willingness-to-pay” and he failed to follow

   established protocol established by the authority (Hanemann paper) on which he supposedly

   relied in making those calculations. Under application of the correct formula, following the

   Hanemann paper, Hauser contends the CV survey conducted by Kilpatrick would suggest a

   diminution estimate of roughly 203 percent of property value (meaning a buyer would need to be

   handed an Acreage house for free, plus a substantial cash lump sum payment, before agreeing to

   live in the Acreage), which, Hauser contends, is nonsensical; (5) the CV survey fails to consider

   demand and supply in a competitive market, resulting in an exaggerated diminution estimate; (6)

   Kilpatrick failed to conduct a “pre-test” of his Fact Card to eliminate or minimize introduction of

   bias or confusion in the survey design.

          Plaintiffs, in turn, challenge the admissibility of Hauser’s opinions under Daubert,

   contending Hauser lacks the requisite qualifications to opine about real estate appraisal matters



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   because, unlike Kilpatrick, Hauser is not a certified real estate appraiser and he has no

   background in conducting consumer research in real estate or environmental damage contexts.

          The Court begins with the Daubert challenge addressed to Hauser.         First, none of the

   opinions offered by Hauser relate to real estate financial transactions, and his lack of background

   in appraisal activity does not necessarily defeat his qualifications to comment on the validity of

   Kilpatrick’s survey methodology. He is a well-recognized expert in marketing science and

   research, specializing in the study of human judgment and decision-making in the consumer

   context [DE 373-1, 373-2], and with this background is well-qualified to testify as an expert

   regarding the validity of the contingent valuation survey that is the lynchpin of Kilpatrick’s

   diminution opinion.

          Given Dr. Hauser’s expertise and extensive experience in consumer decision-making and

   opinion research, including the design, implementation and performance of consumer surveys,

   the Court finds his lack of real estate appraisal credentials to go to the weight, not to the

   admissibility of his testimony, and finds him fully qualified to comment on the reliability and

   validity of the methodology employed by Plaintiff’s damage expert in conducting the contingent

   valuation survey underpinning his calculations.          The Court therefore concludes, by a

   preponderance of the evidence, that Hauser has the requisite knowledge and experience to opine

   about the consumer-choice survey methodology used by Kilpatrick in this case, and denies

   Plaintiffs’ motion to exclude his testimony under Daubert.

          The Court next proceeds to consider Hauser’s specific critiques of Dr. Kilpatrick “CV”

   survey methodology, as detailed below, and finding his opinions persuasive, shall grant

   Defendant’s motion to strike Kilpatrick’s testimony.




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            Dr. Kilpatrick’s Fact Card, designed to elicit and gauge                         consumer response to

   environmental issues attending Acreage properties, consisted of four paragraphs and included a

   statement purporting to describe “ a situation that is affecting a community in Florida.” The

   card featured an aerial photograph of Pratt & Whitney’s plant, even though the facility is not

   visible from any vantage point within the Acreage. The card mentions cancer repeatedly, and

   asserts that Pratt & Whitney contaminated the Acreage with various “cancer-causing agents:” In

   the 19 sentences employed, the Card makes ten references to “cancer” or a “cancer cluster,” and

   one reference to “carcinogens.”21 The card also supplied information not publicly available to

   actual buyers; it mentions the county government investigation into a cancer cluster in the area,

   stating that the investigation was based on a “limited” study and did not result in finding of a

   causal link. The card also did not include language from the FDOH final report describing the

   Acreage as a “safe place to live” with water quality that is “generally good.”

            Further, Kilpatrick’s Fact Card mentioned several chemicals and hazardous waste

   materials allegedly present in Acreage, which are not consistent with Plaintiffs’ allegations or

   expert testimony, or the actual facts of the case, such as “oil, sodium cyanide, asbestos and

   mercury and petroleum.” These are not CCOCs that Plaintiffs allege were generated by Pratt &

   Whitney and migrated to the Acreage.

            Hauser opines that the cumulative effect of Dr. Kilpatrick’s erroneous statements and

   negative representation of the Acreage in the Fact Card was likely to create “demand artifacts”


            21
                Years after conducting the CV survey (2011), Kilpatrick testified, in his April 2016 deposition given in
   this case, that he could remove the “cancer cluster” reference in the FACT Card without affecting the respondents’
   answers, because this expression was essentially mnemonic, or synonymous, with environmental contamination. In
   direct testimony given in support of the class certification motion, he similarly shifted the slant, stating that cancer
   cluster effectively increased public awareness of the historical contamination at the UTC campus and the relation
   of that contamination to the Acreage water supply. The Court views Kilpatrick’s assumptions about import of
   “cancer cluster” phraseology as entirely speculative and assigns no merit to them here. His proposed “mnemonic”
   interchange of “cancer cluster” for “environmental contamination” is rejected as patently not equivalent.


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   that skewed responses by revealing or hinting at the objective of the survey to the respondents.

   That is, by misrepresenting the history of the FDEP investigation, underplaying the conclusions

   of the FDOH, and making repeated reference to cancer, cancer clusters, and carcinogens, the

   Fact Card implies that Pratt & Whitney caused the cancer cluster designation, a negative

   implication reinforced by reference to contaminants that Plaintiffs never alleged were present at

   the Acreage. And with the use of an aerial photograph of the Pratt & Whitney plant – these all

   provide “non-subtle hints” to the respondents that they were expected to have a negative view of

   the Acreage properties.            Thus, these “demand artifacts” likely encouraged respondents to

   express extremely negative views of Acreage properties and skewed the results.

            The Court agrees that these defects in the design and implementation of Kilpatrick’s CV

   survey are fundamental flaws which render the survey incapable of generating a reliable estimate

   of any alleged diminution in Acreage property values,22 and finds Kilpatrick’s diminution in

   value opinion, heavily relying on this research, inadmissible under Daubert and Rule 702.

            The Court also finds the secondary foundation of Kilpatrick’s diminution opinion – the

   sales trend analysis -- to be fundamentally flawed.                   Kilpatrick admits his methodology for

   calculating “impaired values” from sales trend data in this area is not statistically rigorous or

   reliable, and admits there are ways to validate such an analysis that he did not perform in this

   case. His methodology oversimplifies the complex factors that influence home pricing trends,

   as it makes no accommodation for consideration of important individual variables that typically

            22
              Kilpatrick’s effort at validating the results with “informal surveys” of real estate agents, residents of the
   Acreage and local residents of Palm Beach County do not cure or avoid these fundamental flaws. In 2011, his
   team recorded local interviews revealing a stated concern about the impact of the cancer cluster designation in the
   Acreage. In later reports prepared in anticipation of the instant proceeding, Kilpatrick changed the characterization
   of what the interviewee reported, saying they expressed a more general concern about Pratt & Whitney
   contamination of groundwater north of the Acreage. He made these changes without speaking to the staff that
   conducted the interviews, and defended the changes on his earlier–expressed and rejected rationale: that the words
   “cancer cluster” are merely a “mnemonic” device and are effectively understood to mean “environmental
   contamination” caused by the Pratt & Whitney industrial neighbor to the community.


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   influence home values, such as age, size, condition or property uses. Nor did Kilpatrick explain

   a logical basis for drawing a causal inference from any perceived price trends in the time frame

   examined. Kilpatrick admits a “widening gap” in average price per square foot started to occur

   in the Acreage as early as 2007 or 2008, when a sudden economic downturn in the real estate

   market had an undisputed effect on Florida real estate markets state-wide, and he recognized

   that this event preceded the proposed class cut-off dates employed in his analysis.

           Thus, the Court agrees that Kilpatrick cannot reliably       use sales trend analysis to

   determine a single percentage diminution for the entire proposed class area, containing almost

   18,000 properties (15,000 under the secondary definition proposed), and that the mass appraisal

   methodology proposed by him simply does not fit under the facts of this case.         The affected

   community is not remarkably homogeneous, as he originally claimed, but rather includes a wide

   variety and scale of homes (equestrian farms, up-scale villas, simple ranch houses) of various

   ages, sizes and conditions – diverse properties which are not logically impacted in the same way

   by the alleged environmental stigma which Plaintiffs contend attaches by virtue of their general

   proximity to contaminated properties at the UTC site or at localized areas within the Acreage.

           Due to the scientific unreliability of Kilpatrick’s sales trend analysis and CV survey

   results, the Court grants UTC’s motion to exclude Kilpatrick’s proffered testimony on class-wide

   diminution in property values. Without this testimony, Plaintiffs are unable to satisfy the

   predominance element of Rule 23(b), compelling defeat of their current motion for class

   certification.

           3. Even assuming, arguendo, the admissibility of Kilpatrick’s testimony, Plaintiffs
              cannot satisfy the predominance element.

           Even if the Court has erred in any aspect of its Daubert analysis of Kilpatrick’s

   testimony, and assuming the admissibility of Dr. Kilpatrick’s testimony and opinion that a 25-

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   40% diminution in property values is appropriately applied         uniformly across the proposed

   class, his mass appraisal methods are riddled with individual inquiries that would in any event

   defeat the predominance element of Rule 23(b)(3). Dr. Kilpatrick’s opinion is predicated on the

   implicit assumption that each home in the proposed class was similarly damaged by actual

   contamination, or proximity to contaminant detections at the Pratt & Whitney site or within the

   Acreage itself, which the record does not support: Even the Plaintiffs recognize that not every

   home is confronted with the same or similar health risks due to CCOC exposure or proximity to

   CCOC exposure within the Acreage.

          Further, Dr. Kilpatrick’s common method for mass appraisal will need to account for

   numerous individual characteristics of the homes and surrounding neighborhoods, which are not

   uniform throughout the proposed class, as discussed above. And, because he has not yet run his

   contemplated individual sales trend data, based on real-world market evidence, even for the class

   representatives, there is no evidence that any home in the proposed class area has suffered a

   diminution in property value in this case, much less a class-wide diminution in values.

          Thus, even assuming that Plaintiffs can prove the common question that negligence or

   other actionable conduct occurred at the Pratt & Whitney campus and caused off-site migration

   of CCOCs which pose a health risk to Acreage residents, proof of any Plaintiff’s claim will

   require distinctly case-by-case inquiries into whether the migration resulted in a contaminant

   detection causing a dangerous exposure at his or her individual property, as well as an individual

   assessment into the type and extent of damage caused by any such exposure.          The degree of

   damage will depend on whether a particular Plaintiff claims actual or threatened contamination,

   or proximity to such contamination in a degree likely to pose health risks to persons living on the

   property; the source and level of such contamination, the cause and timing of the contamination,



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   and the resulting damage, measured in diminution of property value. These are all questions

   requiring plaintiff-by-plaintiff scrutiny. LaBauve v. Olin Corp., 231 F.R.D. 632 (S.D. Ala.

   2005). This will necessitate testing each home individually to determine exposure and dose

   levels at each location in order to assess the magnitude of any damages attributable to conduct of

   Pratt & Whitney.

          To be clear, Plaintiffs do not need to prove actual contamination of individual properties

   to sustain their claims – but this does not eliminate individual assessments on damages. It only

   transports them to individualized inquiries,     with all the same variables contributing to a

   determination on the extent of actual damages. The geographic variations in this case are

   numerous and involved.

          This case will involve measurements of intangible “environmental stigma” damage that

   can vary significantly parcel to parcel, block to block, depending on the presence of actual or

   threatened contamination, or proximity to dangerous does of contamination on nearby properties

   (UTC or other Acreage homes), relevant exposure and dose levels, the type and extent of

   contamination (radioactive/non-radioactive, above or below background levels), individual soil

   testing and individual water testing results.   In addition to these variables, all impacting the

   magnitude of “stigma” attaching to any one property, the individual measurement of damages

   on any given property will depend on construction materials, architectural style, neighborhood

   location, size and condition of property, as well as any unique structures present which deserve

   individual evaluation.

          Further, individual proximate cause issues will permeate a diminution in value analysis

   because of the many diverse communities encompassed within the proposed class area.          One

   neighborhood may experience less of a drop in value because the unimpaired values are



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   significantly higher than other neighborhoods, and one community may experience more

   pronounced drops due to closer proximity to dangerous exposure levels. In addition, some

   communities may experience a drop in real estate value due to factors unrelated to Pratt &

   Whitney’s operations.

            Plaintiffs have not demonstrated how common issues will predominate over these very

   individual inquiries. Therefore, class certification will be denied for failure to fulfill Rule 23(b)’s

   predominance requirement.23 See generally Corley v. Orangefield Independent School Dist.,

   152 Fed. Appx. 350 (5th Cir. 2005) (unpub) (under rule permitting certification only if damages

   are capable of computation by means of objective standards, not dependent on intangible

   subjective differences of each class members’ circumstances, district court did not err in

   declining to certify class, where geographic variations among property-owners would render

   some parcels more valuable than others, precluding any mechanical calculation of damages);

   Fisher v. Ciba Specialty Chem. Corp, 238 F.R.D. 273 (S.D. Ala. 2006).

                C. Rule 23(b)(3) Inquiry: Superiority

            Rule 23(b)(3) also requires that the Court make a finding that a class action is “superior

   to other available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P

   23(b)(3). For many of the same reasons this class fails the predominance requirement, it also

   fails the superiority requirement.

            In weighing this proposed class action as a whole, the Court concludes that the class

   action device is not the superior method to adjudicate the claims. A class action could be

   23
      Rule 23(b)(3)’s predominance and superiority requirements are not met if, after adjudication of the class-wide
   issues, Plaintiffs must still introduce a great deal of individualized proofs or argue a number of individualized legal
   points to establish most or all of the elements of their individual claims. Vega v. T-Mobile USA, Inc., 564 F.3d 1256,
   1270 (11th Cir. 2009). Thus, a plaintiff cannot satisfy the predominance requirement if, as a practical matter, “the
   resolution of an overarching common issue breaks down into an unmanageable variety of individual legal and
   factual issues.” Babineau v. Federal Express Corp., 576 F.3d 1183 (11th Cir. 2009).


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   desirable because the legal theories at hand are not particularly novel, and proving liability could

   require complex proof regarding transport mechanisms. These issues are common to the

   proposed class, suggesting it should be beneficial to Plaintiffs to join as a class to prosecute this

   action. Yet, Plaintiffs must individually prove causation and damages after establishing liability,

   and varying kinds and amounts of “stigma” will attach to any given property, depending on the

   presence of actual or threatened contamination, varying kinds and amounts of contamination and

   proximity to it, making a class action a particularly inappropriate vehicle for this litigation.

           Because plaintiffs do not satisfy the predominance or superiority requirements of Rule

   23(b)(3), the Court finds it unnecessary to address Defendant’s other grounds of opposition to

   the request for class certification.

       V. CONCLUSION

           All of Plaintiffs’ tort claims are anchored in the contention that contamination from the

   Pratt & Whitney facility has created an “environmental stigma” which clouds their properties

   and impairs their property values. These claims certainly rely on some measure of common

   proof for all Plaintiffs, including: (1) Pratt & Whitney’s history of aerospace manufacturing at

   the Pratt & Whitney facility from the 1950’s going forward, and use of licensed nuclear materials

   at that site in conjunction with various defense projects; (2) the chemical properties, hazards and

   toxicity of contaminants released into groundwater and air and soil at the Pratt & Whitney

   facility; (3) Pratt & Whitney’s waste disposal practices relating to CCOCs, and (4) the potential

   that such disposal practices would cause off-site migration of CCOCs, resulting in contamination

   of surrounding properties five to fifteen miles away, many years after Pratt & Whitney

   remediated the property and ceased the alleged improper disposal practices. Most of these

   common matters may be classified as background facts -- a shared fact background that



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   necessarily exists whenever multiple individuals pursue similar claims against the same

   defendant.

          Regardless of how these common questions are resolved, the existence and degree of

   Pratt & Whitney’s liability to a particular Plaintiff will turn on the following individual-specific

   questions: (1) whether that Plaintiff’s property is actually contaminated or threatened with

   contamination of     radionuclides or other CCOCs – or whether it is in            proximity to a

   contamination detection which poses an objectively-measured health risk to occupants of the

   property; (2) whether the source of those contaminants is Pratt & Whitney, or whether there is a

   property-specific alternative source that better explains the detected contamination; (3) whether

   the contamination is sufficiently severe to reduce the property’s value, and if so, the extent of

   that diminution in value; (4) whether the property is contaminated by toxins other than those

   released by Pratt & Whitney, and if so, the extent to which any diminution in property value may

   be attributed to such other toxins; (5) whether each Plaintiff acquired his or her property before

   or after the alleged diminution in value occurred, and (6) when each Plaintiff was first on notice

   of the contamination and whether the timing of that notice renders his or her claims time-barred.

          So, while there will be some common methods of proof, such as Defendant’s disposal

   practices, migration pathways, and properties of released contaminants, it is likely common

   liability issues will not predominate in this case because the existence and degree of liability

   (measured by magnitude of damages owed) to a particular Plaintiff will turn on all of the

   individual inquiries outlined above.

          Plaintiffs have not met their burden proving a class action is appropriate. Their proposed

   class definition is overbroad, and they do not show, by a preponderance of the evidence,

   satisfaction of Rule 23(b)’s predominance and superiority requirements.



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           It is accordingly ORDERED AND ADJUDGED:

           1. The Plaintiffs’ Daubert motion to exclude testimony of John Hauser [DE 237] is

                DENIED and the Defendant’s motion to exclude testimony of John Kilpatrick [DE

                241] is GRANTED.

           2. All other pending Daubert (motions in limine) [DE 236, 238-239, 242-248, 251] are

                DENIED AS MOOT. This order is without prejudice for either side to renew any

                relevant Daubert challenge at a later stage of this proceeding.

           3. The Plaintiffs’ Motion to Certify a Litigation Class as against Defendant United

                Technologies Corporation [DE 265] is DENIED.

           4. Plaintiffs’ and Defendant Palm Beach Aggregates, LLC’s Joint Motion to Certify a

                Settlement Class as against Defendant Palm Beach Aggregates LLC [DE 253] is
                                                                                                        24
                DENIED for failure to establish ascertainability of the settlement class,                    based on

                the essential defects attending the proposed definition of the litigation class as more

                specifically identified in this Order.

           5. This case will proceed on behalf of the individually named Plaintiffs.

           6. The parties are directed to submit a joint scheduling report within TWENTY (20)

                DAYS advising as to their discovery and scheduling needs, including a proposed trial

                date, going forward without the class action allegations.

           7. In light of the foregoing, Defendant’s motion to strike untimely disclosures re: expert

                Lawrence Wylie [DE 337], Defendant’s motion to strike Plaintiffs’ direct testimony



   24
     Plaintiffs and PBA define the proposed settlement class as “[a]ll Persons who own or have owned real property in
   the Acreage at any time since August 24, 2009 until August 16, 2013, the date of filing and who did not request
   exclusion from this lawsuit…” [DE 253, p. 11]. The parties’ proposed notice to the settlement class attached to the
   joint motion [DE 253-2] inexplicably broadens this definition, providing: “You are a PBA Settlement Class
   Member if you currently own property in the Acreage area of Western Palm Beach County, Florida or if you owned
   property in the Acreage at any time on or after August 24, 2009 and before August 13, 2013.” (emphasis added)

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              affidavit of Brian Moore [DE 379] and Plaintiff’s motion to file a sur-reply to

              Defendant’s motion to strike Moore direct testimony [DE 395] are DENIED AS

              MOOT.     Plaintiffs’ motion to expedite consideration of the motion to extend fact

              discovery [DE 333] is also DENIED AS MOOT.

           DONE AND ORDERED in Chambers at West Palm Beach, Florida this 2nd day of May,

   2018.




                                                            KENNETH A. MARRA
                                                            United States District Judge




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